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                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MINNESOTA
                                                PLEA HEARING
UNITED STATES OF AMERICA,                         )            COURT MINUTES - CRIMINAL
                      Plaintiff,                  )
                                                  )    Case No:               20-CR-0181(3) (PJS/BRT)
                        v.                        )    Date:                  November 19, 2020
                                                  )    Court Reporter:        Debra Beauvais
Bryce Michael Williams,                           )    Courthouse:            Minneapolis
                                   Defendant.     )    Courtroom:             14E
                                                  )    Time Commenced:        9:15 a.m.
                                                  )    Time Concluded:        9:52 a.m.
                                                       Sealed Hearing Time:
                                                       Time in Court:         Hours & 37 Minutes

Defendant’s true name if different from charging instrument:
9 Parties ordered to file stipulation or proposed order for name change.
9 Clerk of Court is directed to change name to:

Before Patrick J. Schiltz, United States District Judge, at Minneapolis, Minnesota.

APPEARANCES:
  For Plaintiff:    David Steinkamp
  For Defendant: Ian Birrell 9 FPD : CJA 9 Retained 9 Appointed
  Interpreter/Language: /
  9 Appointment of Counsel requested - 9 granted 9 denied.
  9 Appointed

PROCEEDINGS:
  9 Arraignment on 9 Information, 9 Indictment
  : Change of Plea Hearing.
  9 Initial Appearance.
  9 Indictment waived.
  9 Defendant withdraws plea of as to Count(s):

       : PLEA:
          : Guilty as to Count: 1
          9 "Nolo Contendere" as to Count(s):
          9 Defendant admits allegations in the Information.

       : Presentence Investigation and Report requested.
       : Bond continued.
       : ~Util Set/Reset Hearings: Sentencing is scheduled for Tuesday, March 9, 2021 at 9:00 a.m. before
         Judge Patrick J. Schiltz.
       9 Defendant remanded to the custody of the U.S. Marshal.
                                                                                                   s/C. Glover
                                                                                               Courtroom Deputy



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